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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division


LAWRENCE GARRISON,                 )
                                   )
       Petitioner,                 )
                                   )
                                   )    CRIMINAL NO. 98-132(JCC)
            v.                     )    CIVIL ACTION NO. 00-1647
                                   )
UNITED STATES OF AMERICA,          )
                                   )
       Respondent.                 )


                 M E M O R A N D U M       O P I N I O N

            This matter comes before the Court on Lawrence

Garrison’s Motion, pursuant to Rule 60(b)(4) of the Federal Rules

of Civil Procedure, to review the Court’s November 20, 2002

Order, which denied Garrison’s motion to vacate, set aside, or

correct his sentence pursuant to 28 U.S.C. § 2255.           For the

reasons stated below, the Court will deny Garrison’s Rule

60(b)(4) Motion.

                              I. Background

            On April 7, 1998, a grand jury sitting in the Eastern

District of Virginia returned an indictment charging Lawrence

Bernard Garrison and fourteen others with conspiracy to

distribute cocaine and crack cocaine in violation of 21 U.S.C. §

846.    Garrison was arraigned on April 27, 1998, at which time

trial was set for June 15, 1998.       Prior to trial, nine of the
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fifteen defendants entered guilty pleas.           Garrison and three

other defendants were tried before this Court.             All four

defendants were convicted by a jury of drug conspiracy.1

             On October 16, 1998, this Court sentenced Garrison to

188 months in prison.        Garrison’s conviction and sentence were

affirmed on direct appeal.         See United States v. Pena, Nos. 98-

4656, 98-4779, 98-4710, 98-4764, 2000 WL 541087 (4th Cir. Apr.

27, 2000), cert. denied sub nom., Pena v. Ward, 530 U.S. 1269

(2000).     Garrison then filed a Motion to vacate, set aside, or

correct his sentence pursuant to 28 U.S.C. § 2255 in this Court

on April 25, 2001.       The Motion asserted six separate claims of

ineffective assistance of counsel.          On November 20, 2002, this

Court denied Garrison’s § 2255 Motion.           Garrison appealed the

denial to the Fourth Circuit, which dismissed the appeal due to

Garrison’s failure to make the showing required for a certificate

of appealability.       See United States v. Garrison, 64 Fed. Appx.

412, 413 (4th Cir. 2003).        Following this dismissal, Garrison

filed the present Motion for relief pursuant to Rule 60(b)(4).

                          II. Standard of Review

             Rule 60(b)(4) of the Federal Rules of Civil Procedure

allows a court to relieve a party from a final judgment, order,

or proceeding where “the judgment is void.”            According to the

Fourth Circuit, “‘a judgment is not void merely because it is


     1
          Two of the defendants were fugitives at the time of trial.

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erroneous.   It is void only if the court that rendered it lacked

jurisdiction of the subject matter, or of the parties, or if it

acted in a manner inconsistent with due process of law.’”

Schwartz v. United States, 976 F.2d 213, 217 (4th Cir. 1992)

(quoting 11 Wright and Miller, Federal Practice and Procedure:

Civil § 2862 at 198-200 (1973)).

                              III. Analysis

           Garrison does not claim that the Court lacked personal

or subject matter jurisdiction, but rather that the Court acted

in a manner inconsistent with due process of law when it denied

his § 2255 motion.     Specifically, Garrison argues that the Court

erred by denying three of his ineffective assistance of counsel

claims on grounds that they were procedurally barred.           Garrison

relies heavily on statements made in Kaufman v. United States,

394 U.S. 217 (1969), abrogated by Stone v. Powell, 428 U.S. 465

(1976), in which the Supreme Court held that a failure to raise a

Fourth Amendment claim on direct appeal did not bar post-

conviction relief.     Id. at 239.    He argues that the merits of an

ineffective assistance of counsel claim raised under the Sixth

Amendment must be decided during § 2255 proceedings without

regard to procedural default.        See United States v. Hanger, No.

91-6544, 1993 U.S. App. LEXIS 9520, at *8 (4th Cir. Apr. 23,

1993) (“An ineffective assistance of counsel claim is a

constitutional claim that is cognizable under § 2255.”).


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            Garrison mischaracterizes the Memorandum Opinion that

accompanied this Court’s November 20, 2002 Order denying his §

2255 motion.     In his § 2255 motion, Garrison asserted six

separate claims of ineffective assistance of counsel, including

his attorney’s failure to object to the use of a general verdict

form and failure to object to the indictment as vague and

unspecific.    These claims now form the basis of Garrison’s Rule

60(b) Motion.2    Contrary to Garrison’s characterization of the

Court’s decision, however, it is clear that the Court ruled on

the merits of both claims.

            Upon considering Garrison’s claim that his attorney

failed to object to the use of a general verdict form, the Court

found that Garrison suffered no prejudice as is required by

Strickland v. Washington, 466 U.S. 668 (1984).           See Garrison v.

United States, No. 98-132, slip op. at 17-19 (E.D. Va. Nov. 20,

2002) (finding that the use of a general verdict form passed

muster under Griffin v. United States, 502 U.S. 46 (1991), and

Apprendi v. New Jersey, 530 U.S. 466 (2000)).           Similarly, with

regard to Garrison’s claim that his attorney failed to object to

the indictment, the Court concluded that Garrison failed to meet



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       In the present Motion, Garrison also argues that the Court erred in not
deciding his claim that his attorney failed to object to the Court’s
determination, by preponderance of the evidence, of the amount of drugs
involved in Petitioner’s offense. A cursory review of Garrison’s § 2255
motion reveals that he did not raise this claim at all during the § 2255
proceedings. The Court will not consider his argument that it erred in
failing to adjudicate the merits of a claim that was not even raised.

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the prejudice prong of the Strickland test.         See id., slip op. at

20-21 (concluding that the indictment satisfied constitutional

requirements in all respects).

            After addressing each of Garrison’s claims on the

merits, the Court went on to state that Garrison was procedurally

barred from raising any Apprendi claims for the first time on

collateral review.     The Court assumes that this statement

constitutes the basis for Garrison’s present Rule 60(b)(4)

motion.   Nevertheless, the statements regarding the procedural

bar were merely alternative grounds for the denial of Garrison’s

§ 2255 claims.    The Court fully considered each claim and

resolved it on the merits.      Garrison’s characterization of the

Court’s decision is therefore mistaken, and his arguments are

baseless.    As the denial of Garrison’s § 2255 motion was

consistent with due process of law, the present Motion will be

denied.

                             IV. Conclusion

            For the foregoing reasons, the Court will deny

Garrison’s Motion for relief pursuant to Rule 60(b)(4).           An

appropriate Order shall issue.




December 8, 2005                                   /s/
Alexandria, Virginia                         James C. Cacheris
                                    UNITED STATES DISTRICT COURT JUDGE


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